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                                           #593



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,                         )
                                                  )
       Plaintiff,                                 )
                                                  )
       v.                                         )         Crim. No.: 3:05-cr-30086-GPM-2
                                                  )
EDUARDO ARELLANO ROJAS,                           )
                                                  )
       Defendant.                                 )

                                             ORDER

       This matter is before the Court on the Motion to Reconsider Bond filed by the defendant,

Eduardo Arellano Rojas, on July 25, 2005 (Doc. 305). For the reasons set forth below, the

motion is DENIED.

                                          BACKGROUND

       The defendant seeks a reconsideration of the Detention Order (Doc. 120) which detained

the defendant pending trial. 18 U.S.C. §3142(e). In his motion, the defendant asserts that

detention should reconsidered, and a bond should be set, because he “was never afforded the

opportunity to present evidence that he is a landowner”; because discovery reveals that he was

not in “actual” possession of narcotics; that the evidence against him is based on information

provided by informants and persons “‘working’ off charges”; because he may have medical

needs; and because he is the father of three children.

                                           DISCUSSION

       18 U.S.C. §3142(f) provides:

               The [detention] hearing may be reopened, before or after a
               determination by the judicial officer, at any time before trial if the
               judicial officer finds that information exists that was not known to
               the movant at the time of the hearing and that has a material
               bearing on the issue whether there are conditions of release that
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                will reasonably assure the appearance of such person as required
                and the safety of any other person and the community.

It is unclear how any of the reasons to reconsider detention provided by the defendant are based

on information that was not known during the hearing. The hearing in this matter occurred on

April 25, 2005. At that time, the defendant knew that he had property, he knew that he was

undergoing medical treatment, and he knew that he had three children. Information concerning

his property and children were included on the defendant’s financial affidavit. (Doc. 56) The

defendant was given an opportunity to present evidence and to make arguments regarding these

matters during the detention hearing. With respect to the “belief” of counsel that the evidence

against this defendant is not credible, such an argument does not belie this court’s finding that

this defendant has no ties to the community and that the charged offense involves a large amount

of narcotics.

       With respect to the defendants medical issues, it is the Court’s understanding, after

speaking with the U.S. Marshal, that he is currently receiving medical care where he is housed.

If he is not receiving adequate treatment, he may file a motion, with supporting facts, requesting

to be transferred to a medical facility (or whatever other relief he may require).

       For the foregoing reasons, the Motion to Reconsider Bond filed by the defendant,

Eduardo Arellano Rojas, on July 25, 2005 is DENIED (Doc. 305).



DATED: August 3, 2005

                                                              s/ Donald G. Wilkerson
                                                              DONALD G. WILKERSON
                                                              United States Magistrate Judge




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